                            CASE 0:21-cr-00173-WMW-DTS Doc. 17 Filed 08/20/21 Page 1 of 1

 AO M2 (Rev.     ll/ll)   ArrestWanant



F#il 3\-l s?+                                UNnpo Srarss Drsrrucr couRr
                                                                      for the
                                                              District of Minnesota

                        United States of America
                                    v.
                                                                                 Case   No.   CR 2l-173(l) WMW/DTS
                           Anton Joseph Lazzaro
                                                                                              ffiEGHEVffim                      *
                                                                                                  AUG    20 2021                e Bc
                                 Defendant                                                                                      H 4vrw
                                                                                           CLERK, U.S. DISTRICT COURT:"                QgH
                                                           ARREST       WARRANT               ST. PAU.L, MINNESOTA
                                                                                                                                q      E   #i:
                                                                                                                                       r'Ll-;
                                                                                                                                :]F
 To:        Any authorized law enforcement officer
                                                                                                                                w
                                                                                                                                o
                                                                                                                                       s#*
            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecetfary delay
                   arrested) AntOn JOSeph LazzarO
 (name ofperson to be

 who is accused of an offense or violation based on the following document filed with the court:

 /    Indictment                  Superseding Indictment           Information          Superseding   Information          Complaint
      Probation Violation Petition                 Supervised Release Violation Petition          Violation Notice         Order of the Court

 This offense is briefly described as follows:                                                    Pretrial Release Violation Petition
 Count l: Conspiracy To Commit Sex Trafficking of Minors 18:t59I(a)(l), l59l(bx2), l59l(c), and 1594(c)
 Counts 2-6: Sex Traflicking of a Minor l8:1591(a)(l), l59l(b)(2), l59t(c), 1594(a),and2
 Count 7: Anempted Sex Trafficking of a Minor l8:1591(a)(l), 1591(bX2), l59l(c), and 1954(a)
 Counts 8-9: Sex Trafficking - Obstruction 18:1591(d)
 Count l0: Sex Trafficking - Obstruction l8:1591(d) and 2




 Date: 08llll202l


 City and    state:       Minneapolis" MN                                                           Fogarfy, Clerk of Coun
                                                                                                  Printed name and title




            This warrant was received on darc)                             , and the person was arrested on dak)
 At lcit,* and state)




                                                                                                           AU$2$?021 cg
                                                                                                                    GSURT ST'   PAUt
                                                                                                      U"S, DISTRTET
